                             Case 23-11946-CTG                         Doc 1         Filed 12/05/23           Page 1 of 20


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                            District of Delaware
                                        (State)
 Case number (If known):                                      Chapter 11                                                                Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Nogin Commerce, Inc.



 2.   All other names debtor used                 Branded Online, Inc.
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer
      Identification Number (EIN)                          2 7– 1 7 9 0 7 1 9



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              105             E. 34th Street
                                              Number          Street                                        Number      Street

                                              Suite 137
                                                                                                            P.O. Box

                                              New York                          NY        10016
                                              City                              State     ZIP Code          City                        State        ZIP Code


                                                                                                            Location of principal assets, if different from
                                              New York                                                      principal place of business

                                              County
                                                                                                            Number      Street




                                                                                                            City                        State        ZIP Code




 5.   Debtor’s website (URL)                  www.nogin.com




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor        Nogin Commerce, Inc.                                       _                  Case number (if known)
              Name



 6.
      Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify:

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4    5      3   9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
                                             Chapter 7
      debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      debtor” must check the first sub-                       aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      box. A debtor as defined in                             affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      § 1182(1) who elects to proceed                         recent balance sheet, statement of operations, cash-flow statement, and federal
      under subchapter V of chapter 11                        income tax return or if any of these documents do not exist, follow the procedure
      (whether or not the debtor is a                         in 11 U.S.C. § 1116(1)(B).
      “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      check the second sub-box.                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).
                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this
                                                              form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Nogin Commerce, Inc.                                        _                   Case number (if known)
               Name


                                            No
 9.   Were prior bankruptcy cases
      filed by or against the debtor        Yes. District
      within the last 8 years?                                                          When                      _ Case number
                                        District                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                                                    When                      _ Case number
                                                                                                MM / DD / YYYY


10.   Are any bankruptcy cases               No

      pending or being filed by a           Yes. Debtor     See Schedule 1                                         Relationship
      business partner or an
      affiliate of the debtor?          District                                                                   When
                                                                                                                                       MM / DD / YYYY
      List all cases. If more than 1,
                                                    Case number, if known
      attach a separate list.




 11. Why is the case filed in this      Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have              No
      possession of any real
      property or personal property           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other



                                                   Where is the property?
                                                                               Number       Street




                                                                               City                                               State ZIP Code


                                                   Is the property insured?
                                               No
                                               Yes. Insurance agency

                                                            Contact name                                                                                    _

                                                            Phone




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 3
                                 Case 23-11946-CTG                Doc 1         Filed 12/05/23              Page 4 of 20

Debtor       Nogin Commerce, Inc.                                          _                    Case number (if known)
             Name




 13. Debtor’s estimation of               Check one:
     available funds                         Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             1-49                                1,000-5,000                               25,001-50,000
 14. Estimated number of
                                             50-99                               5,001-10,000                              50,001-100,000
     creditors
                                             100-199                             10,001-25,000                             More than 100,000
     (on a consolidated basis)
                                             200-999

                                             $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
 15. Estimated assets
     (on a consolidated basis)                $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion



                                             $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
 16. Estimated liabilities
                                             $50,001-$100,000                    $10,000,001-$50 million                   $1,000,000,001-$10 billion
    (on a consolidated basis)
                                             $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion




             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on   12/05/2023
                                                           MM / DD / YYYY


                                              /s/ Vladimir Kasparov                                        Vladimir Kasparov
                                             Signature of authorized representative of debtor               Printed name


                                             Title: Chief Restructuring Officer




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Debtor      Nogin Commerce, Inc.                                     _             Case number (if known)
            Name




 18. Signature of attorney             /s/ Daniel J. DeFranceschi                             Date         12/05/2023

                                       Signature of attorney for debtor                                     MM      / DD / YYYY



                                     Daniel J. DeFranceschi
                                     Printed name

                                     Richards, Layton & Finger, P.A.
                                     Firm name

                                     920             North King Street
                                     Number          Street
                                     Wilmington                                                     DE              19801
                                     City                                                           State            ZIP Code

                                     (302) 651-7700                                                 defranceschi@rlf.com                   _
                                     Contact phone                                                  Email address


                                        No. 2732                                                      DE
                                     Bar number                                                     State




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                                          SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (including the debtor in this chapter 11
case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code in the United States Bankruptcy Court for the District of Delaware. The
Debtors have moved for joint administration of their cases with the lead case number assigned to
the chapter 11 case of Debtor Nogin, Inc.

   1. Nogin, Inc.
   2. Nogin Commerce, Inc.
   3. Native Brands Group LLC
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                UNANIMOUS WRITTEN CONSENT OF THE
    STRATEGIC TRANSACTIONS COMMITTEE OF NOGIN COMMERCE, INC.

                                         December 4, 2023

       The undersigned, being all of the members of the Strategic Transactions Committee (the
“Committee”) of the board of directors of Nogin Commerce, Inc., a Delaware corporation (the
“Corporation”), pursuant to Section 141(f) of the Delaware General Corporation Law and in
accordance with the requirements of the Corporation’s governing documents, DO HEREBY
CONSENT to the adoption of, and DO HEREBY ADOPT, the following resolutions:

               WHEREAS, the board of the directors of the Corporation, established and
       delegated certain authority to the Committee on November, 16, 2023, to evaluate
       certain transactions including, but not limited to, potential restructuring
       transactions.

               WHEREAS, in the judgment of the Committee, it is desirable and in the
       best interests of the Corporation, its stockholders, its subsidiaries, its creditors, and
       other interested parties that a petition commencing a chapter 11 case (the “Chapter
       11 Case”) be filed by the Corporation to seek relief under the provisions of chapter
       11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
       States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

               WHEREAS, in the judgment of the Committee, it is desirable and in the
       best interests of the Corporation, its stockholders, its subsidiaries, its creditors, and
       other interested parties to, in connection with the Chapter 11 Case, engage the law
       firm of Richards, Layton & Finger, P.A. (“RL&F”), as attorneys for the
       Corporation in the Chapter 11 Case, subject to any requisite Bankruptcy Court
       approval;

               WHEREAS, in the judgment of the Committee, it is desirable and in the
       best interests of the Corporation, its stockholders, its subsidiaries, its creditors, and
       other interested parties to, in connection with the Chapter 11 Case, engage the firm
       of Triple P RTS, LLC (“Portage Point”), to provide the Corporation with Vladimir
       Kasparov as the Corporation’s Chief Restructuring Officer (the “CRO”), Robin
       Chiu as the Corporation’s Deputy Chief Restructuring Officer (the “Deputy
       CRO”), and restructuring and interim management services, subject to any
       requisite Bankruptcy Court approval;

               WHEREAS, in the judgment of the Committee, it is desirable and in the
       best interests of the Corporation, its stockholders, its subsidiaries, its creditors, and
       other interested parties to, in connection with the Chapter 11 Case, engage the firm
       of Livingstone Partners LLC (“Livingstone”), as investment banker for the
       Corporation in the Chapter 11 Case, subject to any requisite Bankruptcy Court
       approval; and
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        WHEREAS, in the judgment of the Committee, it is desirable and in the
best interests of the Corporation, its stockholders, its subsidiaries, its creditors, and
other interested parties to, in connection with the Chapter 11 Case, engage the firm
of Donlin, Recano & Company, Inc. (“Donlin Recano”), as claims and noticing
agent and administrative advisor for the Corporation in the Chapter 11 Case, subject
to any requisite Bankruptcy Court approval; and

        WHEREAS, in the judgment of the Committee, debtor-in possession-
financing (“DIP Financing”) is required in order to administer the Chapter 11 Case
and that entry into that certain Senior Secured Super-Priority Debtor-In-Possession
Loan and Security Agreement (the “DIP Facility”) by and among the Corporation,
certain of its subsidiaries, as borrowers or guarantors, as applicable, BRF Finance
Co., LLC, as administrative agent, and BRF Finance Co., LLC, along with any
other participating lenders, as DIP lender thereunder, is desirable and in the best
interests of the Corporation, its stockholders, its subsidiaries, its creditors, and other
interested parties.

        NOW THEREFORE BE IT RESOLVED, that the Corporation shall be, and
hereby is, authorized and directed to: (a) file a voluntary petition (each, a
“Petition”) for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy
Court and (b) perform any and all such acts as are reasonable, advisable, expedient,
convenient, proper or necessary to effect the foregoing; and it be further

        RESOLVED, that the CRO, the Deputy CRO, and each officer of the
Corporation (each individually, an “Authorized Person” and collectively, the
“Authorized Persons”) shall be, and each of them, acting alone, hereby is,
authorized and empowered on behalf of and in the name of the Corporation, on its
own behalf, to: (a) verify and execute each Petition, as well as all other ancillary
documents, and file, or cause to be filed with the Bankruptcy Court, each Petition
and make or cause to be made, prior to execution thereof, any modifications to each
Petition or ancillary documents as any such Authorized Person, in such person’s
discretion, deems necessary or desirable to carry out the intent and accomplish the
purposes of these resolutions (the approval of which to be conclusively established
by the execution thereof by such Authorized Person); (b) verify, execute and file or
cause to be filed all petitions, schedules, lists, motions, applications and other
papers or documents (including authorization to incur debtor-in-possession
indebtedness and to enter into debtor-in-possession loan agreements and related
documents) necessary or desirable in connection with the foregoing; and (c) verify
and execute or cause to be executed any and all other documents necessary or
appropriate in connection therewith in such form or forms as any such Authorized
Person may approve (the approval of which to be conclusively established by the
execution thereof by or at the direction of such Authorized Person); and it be further

        RESOLVED, that the Authorized Persons of the Corporation shall be, and
each of them, acting alone, hereby is, authorized and empowered to retain, on behalf
of the Corporation, on its own behalf: (a) RL&F, as attorneys for the Corporation;


                                            2
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(b) Portage Point, to provide the Corporation with certain financial restructuring
and advisory services; (c) Livingstone, as investment banker for the Corporation;
(d) Donlin Recano, as claims and noticing agent and administrative advisor for the
Corporation; and (e) such additional professionals, including attorneys,
accountants, consultants or brokers, in each case as in such person’s or persons’
judgment may be necessary or desirable in connection with the Chapter 11 Case
and other related matters, on such terms as such person or persons shall approve;
and it be further

        RESOLVED, that the Corporation, on its own behalf, shall be, and hereby
is, authorized to: (a) enter into the DIP Facility and take all actions necessary and
appropriate to obtain DIP Financing according to the terms negotiated by such
Authorized Person, including under one or more loan agreements, and to effectuate
the foregoing, to enter into such loan agreements, documents, notes, guaranties,
security agreements, mortgages, pledge agreements and all other documents,
agreements or instruments related thereto (collectively, the “Financing
Transactions”) as may be deemed necessary or appropriate by such Authorized
Person (such approval to be conclusively evidenced by the execution thereof or
taking of such action by such Authorized Person); and (b) pay related fees and grant
security interests in and liens upon, some, all or substantially all of the
Corporation’s assets, as may be deemed necessary by any one or more of the
Authorized Persons in connection with such Financing Transactions; and it be
further

         RESOLVED, that any of the Authorized Persons and any employees or agents
(including counsel) designated by or directed by such person, and the Corporation, be,
and each hereby is, authorized and empowered to cause the Corporation or its wholly
owned subsidiary Native Brands Group LLC, to enter into, execute, deliver, certify,
file, record, adopt, and perform under, such documents, resolutions and consents
(including all such bankruptcy petitions, agreements (including engagement
agreements or arrangements), certificates, instruments and amendments), and to take
such other actions (including authorizing Native Brands Group LLC to enter into,
execute and deliver any documents (including all such bankruptcy petitions,
agreements (including engagement agreements or arrangements), certificates,
instruments and amendments)), as in the judgment of such person or the Corporation
shall be or become necessary, proper, and desirable to prosecute to a successful
completion of the Chapter 11 Case to effectuate the restructuring of the Corporation's
debt, other obligations, organizational form and structure, and ownership of the
Corporation and its subsidiaries consistent with the foregoing resolutions, and to carry
out and put into effect the purposes of the foregoing resolutions, and the transactions
contemplated by these resolutions, their authority thereunto to be evidenced by the
taking of such actions; and it be further

       RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each of the Authorized Persons or their
designees shall be, and each of them, acting alone, hereby is, authorized, directed
and empowered, in the name of and on behalf of the Corporation to take or cause

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to be taken any and all such further actions, to execute and deliver any and all such
agreements, certificates, instruments, consents and other documents and to pay all
expenses, including filing fees, in each case as in such Authorized Person’s or
Authorized Persons’ judgment shall be necessary or desirable in order to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein; and it
be further

        RESOLVED, that any and all acts taken and any and all certificates,
instruments, agreements or other documents executed for or on behalf of the
Corporation, on its own behalf, by any Authorized Person prior to the adoption of
the foregoing resolutions with regard to any of the transactions, actions, certificates,
instruments, agreements or other documents authorized or approved by the
foregoing resolutions be, and they hereby are, ratified, confirmed, adopted and
approved.

       This Unanimous Written Consent may be executed in one or more
counterparts.



                              [Signature page follows]




                                           4
DocuSign Envelope ID: D82DE95A-47D5-4CAA-8B0C-FDEB532DB530
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                  IN WITNESS WHEREOF, each of the undersigned has executed this Unanimous Written
            Consent on the applicable date set forth below.


                                                                         ____________________________
                                                                         Name: Wilhelmina Fader
                                                                         Title: Committee Member
                                                                         Date:


                                                                         ____________________________
                                                                         Name: Eileen Moore Johnson
                                                                         Title: Committee Member
                                                                         Date:


                                                                         ____________________________
                                                                         Name: Andrew Pancer
                                                                         Title: Committee Member
                                                                         Date:
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Fill in this information to identify the case:

Debtor name: Nogin, Inc., et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 23-_____

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
the 30 Largest Unsecured Claims and Are Not Insiders                                                                                            12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and           Name, telephone number, and       Nature of the      Indicate if Amount of unsecured claim
    complete mailing address,      email address of creditor contact claim              claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                               (for example,      contingent, claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-    total claim amount and deduction for value of
                                                                     bank loans,        dated, or collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                  Total claim,       Deduction for Unsecured
                                                                     government                     if partially       value of            claim
                                                                     contracts)                     secured            collateral or
                                                                                                                       setoff

1   Jefferies                      Evan Osheroff                      Professional        ¨C                                             $7,716,917.08
    520 Madison Avenue             eosheroff@jeffries.com             Services
    New York NY 10022                                                                     ¨U
                                                                                          ¨D
2   Stifel                         Peg Jackson                        Professional        ¨C                                             $4,230,518.00
    One Financial Plaza            pjackson@stifel.com                Services
    501 North Broadway                                                                    ¨U
    St. Louis MO 63102
                                                                                          ¨D
3   Latham & Watkins               Ryan Maierson                      Professional        ¨C                                             $2,378,991.00
    P.O. Box 2130                  Ryan.Maierson@lw.com               Services
    Carol Stream IL 60132-2130                                                            ¨U
                                                                                          ¨D
4   Commission Junction LLC        Kathryn Rymer                      Professional        ¨C                                             $1,218,052.93
    4140 Solutions Center          kathryn.rymer@cj.com               Services
    #774140                                                                               ¨U
    Chicago IL 60677-4001
                                                                                          ¨D
5   Scotch & Soda Brand Holdings   Joseph Sutton                      Trade Debts         ¨C                                             $1,074,736.00
    LLC                            jsutton@bluestarall.com
    240 Madison Ave, 15th Floor                                                           þU
    New York NY 10016
                                                                                          ¨D
6   Robert K. Vogel Company        Robert K. Vogel                    Trade Debts         ¨C                                             $1,038,064.85
    300 Paseo Tesoro               bob@vogelproperties.com
    Walnut CA 91789                                                                       ¨U
                                                                                          ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims Page 1
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Debtor    Nogin, Inc., et al.                                                                                     Case number (if known) 23-_____

    Name of creditor and            Name, telephone number, and       Nature of the       Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim               claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,       contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,        unliqui-    total claim amount and deduction for value of
                                                                      bank loans,         dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional        disputed
                                                                      services, and                   Total claim,       Deduction for Unsecured
                                                                      government                      if partially       value of            claim
                                                                      contracts)                      secured            collateral or
                                                                                                                         setoff

7   Factory X                       C/O Russel Allyn                       Professional     ¨C                                             $929,125.00
    1000 Wilshire Blvd              rallyn@buchalter.com                   Services
    Ste 1500                                                                                ¨U
    Los Angeles CA 90017-2457
                                                                                            ¨D
8   Karen Kane                      C/O Jeffrey Kapor                      Trade Debts      ¨C                                             $911,522.71
    2275 East 37th Street           jkapor@buchalter.com
    Los Angeles CA 90058                                                                    þU
                                                                                            ¨D
9   Hurley Brand Holdings, LLC      Joseph Sutton                          Trade Debts      ¨C                                             $822,870.98
    240 Madison Ave, 15th Floor     jsutton@bluestarall.com
    New York NY 10016                                                                       þU
                                                                                            ¨D
10 Bebe                             Joseph Sutton                          Trade Debts      ¨C                                             $762,449.00
   240 Madison Ave, 15th Floor      jsutton@bluestarall.com
   New York NY 10016                                                                        þU
                                                                                            ¨D
11 Rumpl, Inc.                      Ellyn Craven                           Trade Debts      ¨C                                             $595,263.20
   2544 NW Upshur Street            ellyn@rumpl.com
   Portland OR 97210                                                                        þU
                                                                                            ¨D
12 Brookstone                       Joseph Sutton                          Trade Debts      ¨C                                             $552,236.00
   1 Innovation Way                 jsutton@bluestarall.com
   Merrimack NH 03054                                                                       þU
                                                                                            ¨D
13 Locus Robotics                   Andrew Wang
                                    accountsreceivable@locusrobotics.com
                                                                           Trade Debts      ¨C                                             $539,034.14
   301 Ballardvale St. Suite 1
   Wilmington MA 01887                                                                      ¨U
                                                                                            ¨D
14 Donnelley Financial Solutions    Glenny Cabrera                         Trade Debts      ¨C                                             $429,813.74
   (DFIN)                           nybay@dfinsolutions.com
   P.O. Box 842282                                                                          ¨U
   Boston MA 02284-2282
                                                                                            ¨D
15 Google LLC                       B Rachel                               Trade Debts      ¨C                                             $401,589.54
   PO Box 883654                    collections@google.com
   Los Angeles CA 90088-3654                                                                ¨U
                                                                                            ¨D
16 Justice Brand Holdings, LLC      Joseph Sutton                          Trade Debts      ¨C                                             $401,523.00
   240 Madison Avenue               jsutton@bluestarall.com
   15th Floor                                                                               þU
   New York NY 10016
                                                                                            ¨D
17 Giordano's                       Jayme D'Heilly                         Trade Debts      ¨C                                             $400,000.00
   704 North Rush Street            jayme.d'heilly@lathropgpm.com
   Chicago IL 60611                                                                         ¨U
                                                                                            ¨D




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims Page 2
                                Case 23-11946-CTG               Doc 1      Filed 12/05/23       Page 14 of 20

Debtor    Nogin, Inc., et al.                                                                                  Case number (if known) 23-_____

    Name of creditor and            Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,     unliqui-    total claim amount and deduction for value of
                                                                      bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional     disputed
                                                                      services, and                Total claim,       Deduction for Unsecured
                                                                      government                   if partially       value of            claim
                                                                      contracts)                   secured            collateral or
                                                                                                                      setoff

18 Cordial Experience, Inc.         Bailey Busch                        Professional     ¨C                                             $396,251.46
   402 W Broadway                   bbusch@cordial.com                  Services
   San Diego CA 92101                                                                    ¨U
                                                                                         ¨D
19 Apexus Roswell L.P.              Gabriel Dan                         Trade Debts      ¨C                                             $351,918.67
   (Previously HM Roswell)          gabriel@aminimholdings.com
   2250 Roswell Drive                                                                    ¨U
   Pittsburgh PA 15205
                                                                                         ¨D
20 Michelada LLC                    Angel Sanchez                       Professional     ¨C                                             $349,320.00
   9450 SW Gemini Dr, #18347        info@michelada.io                   Services
   Beaverton OR 97008-7105                                                               ¨U
                                                                                         ¨D
21 Sports Products of America,      Allan Tawil                         Professional     ¨C                                             $349,003.03
   LLC Adjmi SPA                    atawil@adjmi.com                    Services
   463 7th Ave                                                                           þU
   New York NY 10018
                                                                                         þD
22 Attentive Mobile Inc.            Reagan Sullivan                     Professional     ¨C                                             $324,566.49
   221 River Street                 ar@attentivemobile.com              Services
   9th Floor                                                                             ¨U
   Hoboken NJ 07030
                                                                                         ¨D
23 Horizons HRS Service Staffing    Tim Regan                           Trade Debts      ¨C                                             $311,643.16
   II LLC                           tregan@horizonshrservices.com
   PO Box 207527                                                                         ¨U
   Dallas TX 75320-7527
                                                                                         ¨D
24 Kenneth Cole                     David Edelman                       Trade Debts      ¨C                                             $306,058.27
   603 West 50th Street             dedelman@kennethcole.com
   New York NY 10019                                                                     þU
                                                                                         ¨D
25 Lee & Associates - Ontario       Attn: Accounts Receivable           Professional     ¨C                                             $260,881.87
   3535 Inland Empire Blvd          stacey@lee-assoc.com                Services
   Ontario CA 91764                                                                      ¨U
                                                                                         ¨D
26 Bottom Line Concepts LLC         Attn: Accounting                 Professional        ¨C                                             $255,057.46
   3323 NE 163rd Street, Suite      accounting@bottomlinesavings.com Services
   302                                                                                   ¨U
   North Miami Beach FL 33160
                                                                                         ¨D
27 Junk Food Clothing               Joni Lee Gaudes                     Trade Debts      ¨C                                             $250,182.96
   5770 W. Jefferson Blvd           jlgaudes@hybridapparel.com
   Los Angeles CA 90016                                                                  þU
                                                                                         ¨D
28 Flight Phase I Owner, LLC        Megan Crabtree                      Trade Debts      ¨C                                             $236,836.64
   19600 Fairchild, Suite 100       mcrabtree@lpc.com
   Irvine CA 92612                                                                       ¨U
                                                                                         ¨D




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims Page 3
                               Case 23-11946-CTG            Doc 1      Filed 12/05/23        Page 15 of 20

Debtor   Nogin, Inc., et al.                                                                                Case number (if known) 23-_____

    Name of creditor and          Name, telephone number, and       Nature of the   Indicate if Amount of unsecured claim
    complete mailing address,     email address of creditor contact claim           claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                              (for example,   contingent, claim amount. If claim is partially secured, fill in
                                                                    trade debts,    unliqui-    total claim amount and deduction for value of
                                                                    bank loans,     dated, or collateral or setoff to calculate unsecured claim.
                                                                    professional    disputed
                                                                    services, and               Total claim,       Deduction for Unsecured
                                                                    government                  if partially       value of            claim
                                                                    contracts)                  secured            collateral or
                                                                                                                   setoff

29 BB Brand Holdings LLC          Joseph Sutton                     Trade Debts       ¨C                                             $235,000.00
   240 Madison Ave                jsutton@bluestarall.com
   15th Floor                                                                         þU
   New York NY 10016
                                                                                      ¨D
30 Titan Rack & Shelving LLC      Scott Miller                      Trade Debts       ¨C                                             $234,984.44
   4 Zeller Dr                    scott@titanrackllc.com
   Somerset NJ 08873                                                                  ¨U
                                                                                      ¨D




Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims Page 4
                       Case 23-11946-CTG                    Doc 1            Filed 12/05/23        Page 16 of 20




 Fill in this information to identify the case:

 Debtor name: Nogin Commerce, Inc.
 United States Bankruptcy Court for the: District of Delaware
                                                                   (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is
   true and correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
   ☐        Other document that requires a declaration

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on 12/05/2023
                                                        /s/ Vladimir Kasparov
                                                        Signature of individual signing on behalf of debtor
                     MM / DD / YYYY
                                                        Vladimir Kasparov
                                                        Printed name

                                                        Chief Restructuring Officer
                                                        Position or relationship to debtor


                                                  


 Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-11946-CTG             Doc 1        Filed 12/05/23          Page 17 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    _________________________________________
                                              )
    In re:                                    )                               Chapter 11
                                              )
    Nogin, Inc., et al.,                      )                               Case No. 23-__________ (___)
                                              )
                             1
                    Debtors.                  )                               (Joint Administration Requested)
                                              )
    _________________________________________ )

                 CONSOLIDATED STATEMENT OF CORPORATE OWNERSHIP

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
Nogin, Inc. and its affiliated debtors and debtors in possession (the “Debtors”) respectfully
represent as follows:

      •      No person or entity holds 10% or more of the equity interests in Nogin, Inc.

      •      Nogin, Inc. owns 100% of the equity interests in Nogin Commerce, Inc.

      •      Nogin Commerce, Inc. owns 100% of the equity interests in Native Brands Group LLC.




1
  The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification number
are: Nogin, Inc. (0703); Nogin Commerce, Inc. (0719); Native Brands Group LLC (0504). The mailing address for
the Debtors is 105 E. 34th St, Suite 137 New York, NY 10016.

                                      Consolidated Statement of Corporate Ownership                          Page 1
                       Case 23-11946-CTG                    Doc 1            Filed 12/05/23        Page 18 of 20




 Fill in this information to identify the case:

 Debtor name: Nogin Commerce, Inc.
 United States Bankruptcy Court for the: District of Delaware
                                                                   (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


              Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is
   true and correct:
   ☐        Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐        Schedule H: Codebtors (Official Form 206H)
   ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐        Amended Schedule ____
   ☐        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Statement of Corporate Ownership

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on 12/05/2023
                                                        /s/ Vladimir Kasparov
                                                        Signature of individual signing on behalf of debtor
                     MM / DD / YYYY
                                                        Vladimir Kasparov
                                                        Printed name

                                                        Chief Restructuring Officer
                                                        Position or relationship to debtor




 Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-11946-CTG           Doc 1         Filed 12/05/23     Page 19 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    _________________________________________
                                              )
    In re:                                    )                          Chapter 11
                                              )
    Nogin Commerce, Inc.,                     )                          Case No. 23-__________ (___)
                                              )
                Debtor.                       )                          (Joint Administration Requested)
                                              )
    _________________________________________ )

                                     LIST OF EQUITY HOLDERS1

             Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct ownership interest in the above-captioned debtor and debtor

in possession:

    Name and Last Known Address or                                                     Percentage of
                                                Kind/Class of Interest
      Place of Business of Holder                                                      Interests Held
               Nogin, Inc.
       105 E. 34th Street, Suite 137                  Equity Interest                       100%
         New York, NY 10016




1
 This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure.

                                                List of Equity Holders                                    Page 1
                              Case 23-11946-CTG                   Doc 1        Filed 12/05/23           Page 20 of 20


 Fill in this information to identify the case:

 Debtor name: Nogin Commerce, Inc.
 United States Bankruptcy Court for the: District of Delaware
                                                                  (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                             12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for
the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of
those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy
Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.


            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
   another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
   ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐      Schedule H: Codebtors (Official Form 206H)
   ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐      Amended Schedule ____
   ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form
          204)
         Other document that requires a declaration List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on 12/05/2023
                                                       /s/ Vladimir Kasparov
                                                       Signature of individual signing on behalf of debtor
                    MM / DD / YYYY
                                                       Vladimir Kasparov
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




                                                      List of Equity Holders                                       Page 2
